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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN SECTION OF TENNESSEE
                                   WESTERN DIVISION

    SCOTT TURNAGE, DEONTAE TATE, JEREMY S.                      )   Case No. 2:16-cv-2907-
    MELTON, ISSACCA POWELL, KEITH BURGESS,                      )   SHM/tmp
    TRAVIS BOYD, TERRENCE DRAIN, and                            )
    KIMBERLY ALLEN on behalf of themselves and all              )   (Hon. Judge Samuel H. Mays)
    similarly situated persons,                                 )
                                                                )
            PLAINTIFFS,                                         )
    v.                                                          )
                                                                )
    BILL OLDHAM, in his individual capacity as former           )
    Sheriff of Shelby County, Tennessee; FLOYD                  )
    BONNER, JR., in his official capacity as Sheriff of         )
    Shelby County, Tennessee; ROBERT MOORE, in his              )
    individual capacity as former Jail Director of Shelby       )
    County, Tennessee; KIRK FIELDS, in his official             )
    capacity as Jail Director of Shelby County, Tennessee;      )
    CHARLENE McGHEE, in her individual capacity as              )
    former Assistant Chief of Jail Security of Shelby County,   )
    Tennessee; REGINALD HUBBARD, in his official                )
    capacity as Assistant Chief of Jail Security of Shelby      )
    County, Tennessee; DEBRA HAMMONS, in her                    )
    individual capacity as former Assistant Chief of Jail       )
    Programs of Shelby County, Tennessee; TIFFANY               )
    WARD in her official capacity as Assistant Chief of Jail    )
    Programs of Shelby County, Tennessee; SHELBY                )
    COUNTY, TENNESSEE, a Tennessee municipality;                )
    TYLER TECHNOLOGIES, INC., a foreign corporation;            )
    GLOBAL TEL*LINK CORPORATION, a foreign                      )
    corporation; SOFTWARE AG USA, INC., a foreign               )
    corporation; and SIERRA-CEDAR, INC., a foreign              )
    corporation, SIERRA SYSTEMS GROUP, INC., a                  )
    foreign corporation; and TETRUS CORP, a foreign             )
    corporation                                                 )
                                                                )
            DEFENDANTS.                                         )

   MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES,
    REIMBURSEMENT OF EXPENSES, AND INCENTIVE AWARDS TO PLAINTIFFS


          Pursuant to Rule 54(d)(2) of the Federal Rules of Civil Procedure, Plaintiffs Scott


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   Turnage, Deontae Tate, Jeremy S. Melton, Aubrey L. Brown, as administrator ad litem of the

   estate of Issacca Powell, Keith Burgess, Travis Boyd, Terrence Drain, and Kimberly Allen, on

   behalf of themselves and all other similarly situated persons (“Plaintiffs”), by and through their

   Rule 23(g)(3) appointed Interim Class Counsel, respectfully submit this Memorandum of Law

   in Support of their Motion for Award of Attorneys’ Fees, Reimbursement of Expenses, and

   Incentive Awards to Plaintiffs and state as follows: 1

                           FACTUAL AND PROCEDURAL BACKGROUND

           This is a class action brought under the Civil Rights Act of 1871, 42 U.S.C. §§ 1983 and

   1988 and Tennessee common law asserted by Plaintiffs in a Class Action Complaint initially

   filed on November 17, 2016. Several separate suits were consolidated in this Court under

   docket 2:16-cv-2907 (the “Action”). See ECF Nos. 41, 42, 85, 89, 101. Plaintiffs brought

   this action, on behalf of themselves and the Settlement Class, against Shelby County, Tennessee

   and a number of its agents for the alleged unlawful over-detention of individuals held in the

   Shelby County Jail, which resulted from the County’s adoption and implementation of a

   computer system in late 2016. Among other allegations, Plaintiffs asserted that the computer

   system failed to properly account for the dismissal of a number of detainee’s cases and was

   unable to adequately track bond settings and the posting and satisfaction of warrants. Over the

   course of the litigation, six private contractor defendants were sued for negligence and added as

   Defendants to this action in connection with their alleged roles in the development and

   implementation of the computer system. A detailed statement of the background and procedural

   history of this case is set forth in the Joint Declaration of Michael G. McLaren, Frank L. Watson,



   1
    To date, no Class Member has objected to this request for fees, expenses, and incentive awards. Likewise,
   Defendants do not oppose the request.

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   III, William F. Burns, and Brice M. Timmons in Support of Class Counsel’s Motion for Award

   of Attorneys’ Fees and Reimbursement of Expenses (“Joint Declaration”) at ¶¶ 3-17, a copy of

   which is attached hereto as EXHIBIT A.

           As the Court is aware, this action was vigorously litigated for over five years. Over the

   course of this litigation, the Parties have engaged in significant class discovery, including,

   but not limited to, extensive ESI document exchange and review and discovery pertaining

   to the size of the putative class. (Joint Declaration ¶ 9). Files related to over 72,000

   detainees were made available for production, electronically hosted on software licensed to

   Interim Class Counsel, and reviewed for purposes of depositions. (Joint Declaration ¶ 9).

   Although Plaintiffs’ counsel had a high level of confidence in establishing liability, Defendants

   vigorously denied any liability and maintained that Plaintiff’s likelihood of success was

   uncertain at best. (Joint Declaration ¶ 9). There are still factual and legal hurdles that remain in

   this case if it does not settle. (Joint Declaration ¶ 9).

           Notably, the fourteen defendants in this case were ably represented by a number of

   highly-respected and competent attorneys from regional and national law firms, including

   Wyatt, Tarrant & Combs, LLP, Baker Donelson Bearman Caldwell & Berkowitz, P.C., K&L

   Gates, LLP, Burch Porter & Johnson, Bradley Arant Boult Cummings, LLP, Spicer Rudstrom

   PLLC, Farris Bobango Branan PLC, and Gordon Rees Scully Mansukhani, all of whom asserted

   a plethora of complex, legal defenses, many of which, if successful, would have resulted in no

   recovery for the Class. There were over 750,000 documents produced, extensive pre-trial

   discovery disputes, including over ten in-person hearings to resolve discovery disputes,

   seventeen depositions, and complicated legal issues to research, brief, and argue.            (Joint

   Declaration ¶ 10).

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          After formal mediation and extensive negotiations, Plaintiffs secured a settlement

   agreement with Defendants for a classwide resolution of this action, the terms of which this

   Court preliminarily approved on August 11, 2021. (Joint Declaration ¶¶ 14-17). Under the

   terms of the proposed settlement, Defendants have agreed to collectively pay a Gross Settlement

   Amount of $4,900,000.00. (Joint Declaration ¶ 14). Class Members enjoy substantial benefits

   under the terms of the settlement. Indeed, Class Members who submit approved claims shall be

   entitled to (i) $750 per day for each day of Over Detention between 1 and 3 days; (ii) $1,000 per

   day for each day of Over Detention between 4 and 11 days; and (iii) $2,500 per day for each day

   of Over Detention of 12 or more days. (Joint Declaration ¶ 14). Class Counsel negotiated for

   legal fees and expenses in the amount of $2,400,000.00 and for an Incentive Award in the

   amount of $17,500 for each of the eight Class Representatives, subject to the approval of this

   Court. (Joint Declaration ¶ 14).

            PLAINTIFFS AND CLASS COUNSEL ARE ENTITLED TO AN AWARD OF
           THE NEGOTIATED ATTORNEYS’ FEES, REIMBURSEMENT OF EXPENSES,
                              AND INCENTIVE AWARDS.

          A.      Plaintiffs and Class Counsel seek an award of fees and expenses in the total
                  amount of $2,400,000.00.

          Fed. R. Civ. P. Rule 23(e) requires judicial approval of class action settlements. As the

   first step in the approval process, the court must give preliminary approval to the proposed

   settlement and approve the form and method of notice to settlement class members. Williams v.

   Vukovich, 720 F.2d 909, 921 (6th Cir. 1983); Manual for Complex Litigation, Third (1995) §

   30.41, at 265. The Court granted preliminary approval in this case on August 11, 2021. Thereafter,

   the court holds a final fairness hearing at which proponents of and objectors to the settlement may

   be heard and after which the court makes its final determination as to whether the settlement is



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   fair, reasonable, and adequate. Williams, 720 F.2d at 921; Manual for Complex Litigation, Third,

   § 30.41, at 265.

          In the Motion, Plaintiffs and Class Counsel request an award of fees and expenses in the

   total amount of $2,400,00.00. Plaintiffs and Class Counsel contend that, after five years of

   complex and hotly contested litigation, this request for an award of fees and expenses is eminently

   reasonable. As is set forth in the Joint Declaration, the time and hourly rate of each time keeper

   that worked on this matter breaks down as follows:

          Law Firm                 Timekeeper            Hourly   Hours         Total
                                                          Rate   Expended
    WATSON BURNS,            Frank L. Watson, III       $500.00 971.70    $485,850.00
    PLLC
                             William F. Burns           $495.00 975.20           $482,724.00

                             William E. Routt           $385.00 986.60           $379,841.00

    BLACK MCLAREN                                       $500.00 459.90           $229,950.00
                             Michael G. McLaren
    JONES RYLAND &
    GRIFFEE, PC                                         $420.00 548.80           $230,496.00
                             William E. Cochran, Jr.
                                                        $420.00 410.90           $172,578.00
                             Brice M. Timmons
                                                        $375.00 234.10           $87,787.50
                             Holly Jackson Renken
                                                        $375.00 32.20            $12,075.00
                             Charles S. Mitchell
                             Christopher M.             $220.00 115.50           $25,410.00
                             Williams
                                                        $135.00 415.00           $56,025.00
                             Paralegal/Law Clerk
                                                        Various 27.80            $6,527.50
                             Other Attorneys
    DONATI LAW, PLLC                                    $420.00 177.70           $74,634.00
                             Brice M. Timmons
                                                        $275.00 207.25           $56,993.75
                             Craig A. Edgington
                                                        $135.00 4.0              $540.00
                             Paralegal


                                                    5
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           Law Firm                 Timekeeper             Hourly      Hours         Total
                                                            Rate      Expended
    TOTALS:                                                          5566.65   $2,301,431.75



   (Joint Declaration ¶ 19).

           These hours do not include any hours performed after the date of this filing and thus do not

   include preparation for the Final Fairness Hearing, attendance at the Final Fairness Hearing, or

   Counsel’s involvement in the ongoing claims period and claims process, which will continue after

   the Final Fairness Hearing. (Joint Declaration ¶ 20). While this is merely a prediction, it is likely

   that Counsel will expend in excess of 100 hours that is not included in the chart above. (Joint

   Declaration ¶ 20).

           Moreover, Class Counsel incurred a total of $143,418.95 in expenses in the prosecution of

   this case, which includes expenses associated with e-discovery document hosting and review,

   seventeen depositions, and all of the ordinary costs of litigation. (Joint Declaration ¶ 21). All of

   these expenses were necessary and reasonable in the prosecution of this case. (Joint Declaration

   ¶ 21). Class Counsels’ fees (at their respective market rates based on hours expended) and

   expenses for the prosecution and successful settlement of this action accordingly total

   $2,446,272.23, which exceeds amount that Plaintiffs and Counsel request that the Court award.

   The Court should approve the requested award of fees in expenses in the amount of $2,400,000 in

   its entirety.

           B.      The requested award of attorneys’ fees and expenses should be granted
                   pursuant to the fee-shifting provision set forth in 42 U.S.C. § 1988.

           42 U.S.C. § 1988 provides that, in an action or proceeding under 42 U.S.C. § 1983, “the

   court, in its discretion, may allow the prevailing party…a reasonable attorney’s fee…” “The

   purpose of this fee-shifting statute is to ‘ensure effective access to the judicial process for persons
                                                     6
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   with civil rights grievances.’” Grier v. Goetz, 421 F. Supp. 2d 1061, 1068 (M.D. Tenn. 2006).

   The Supreme Court has held that “a ‘prevailing’ party is one that receives at least some relief on

   the merits of its claim.” Id. (citing Hanrahan v. Hampton, 466 U.S. 754, 758 (1980) (emphasis in

   original)). This is a “generous” standard and only requires the prevailing party “to receive some

   relief on the merits of its claim.” Id. at 1068-69. Obtaining a “judgment on the merits” makes one

   a “prevailing party.” Buckhannon Bd. & Care Home v. W. Va. Dept. of Health & Human Res., 532

   U.S. 598, 603-04 (2001). The Supreme Court has stressed the importance of awarding attorneys’

   fees to prevailing parties in civil rights cases in particular, in order to encourage attorneys to act as

   “private attorneys-general,” vindicating the most basic constitutional and congressional policies

   against discrimination. Newman v. Piggie Park Enters., 390 U.S. 400, 402 (1968); see also City

   of Riverside v. Riveria, 477 U.S. 561, 574 (1986); Hensley v. Eckerhart, 461 U.S. 424, 429 (1983).

   All taxpayers indirectly benefit from the redress and elimination of unconstitutional statutes and

   practices. See Newman, 390 U.S. at 402; see also Blanchard v. Bergeron, 489 U.S. 87, 96 (1989)

   (“Congress has elected to encourage meritorious civil rights claims because of the benefits of such

   litigation for the named plaintiff and for society at large . . . .”); Rivera, 477 U.S. at 574. Fees in

   civil rights cases need not be proportionate to a monetary recovery. Id. In fact, Congress intended

   for fees in civil rights litigation to be awarded to encourage litigation designed to deter civil rights

   violations by institutions, just as in the case at bar. Id.

           Here, the proposed settlement accomplishes substantial relief for the Class Members. As

   is addressed above, Class Members receive (i) $750 per day for each day of Over Detention

   between 1 and 3 days; (ii) $1,000 per day for each day of Over Detention between 4 and 11 days;

   and (iii) $2,500 per day for each day of Over Detention of 12 or more days. This is significant

   financial remuneration for the violation of their Constitutional rights. For instance, Plaintiff and

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   Class Representative Terrence Drain is expected to receive $37,750.00 in compensation for being

   unlawfully detained for 22 days. (See Declaration of Terrence Drain (“Drain Decl.”) at ¶ 2, a copy

   of which is attached hereto as EXHIBIT B). Accordingly, via the proposed settlement, the

   Plaintiffs are a “prevailing party” under the “generous” standard governing the fee-shifting statute,

   and Counsel is entitled to an award of their reasonable fees.

          Because the requested award should be approved pursuant to the fee shifting provisions in

   42 U.S.C. § 1988, it is unnecessary to perform the common analysis whereby the award is analyzed

   as a percentage of the common fund and crosschecked against Counsels’ lodestar. See Linneman

   v. Vita-Mix Corp., 970 F.3d 621 (6th Cir. 2020) (“our court has repeatedly said that district courts

   are not required to conduct a crosscheck in every case”). In fact, the award of fees and expenses

   here was negotiated separately, not as any percentage of the common fund, and should be approved

   under Section 1988’s fee shifting provisions.

          C.      The requested award of attorneys’ fees and expenses is fair and reasonable.

          Even if the requested award was not justified by the applicable fee shifting statute, the

   award is fair and reasonable and should be approved by this Court. The Sixth Circuit, in Linneman

   v. Vita-Mix Corp., 970 F.3d 621 (6th Cir. 2020), has recently provided guidance in connection with

   the award of attorneys’ fees in common fund class action cases, stating:

                  There are two leading approaches known as the lodestar method and the
                  percentage method. See Gascho v. Glob. Fitness Holdings, LLC , 822
                  F.3d 269, 279–80 (6th Cir. 2016); 5 William B. Rubenstein et al.,
                  Newberg on Class Actions §§ 15:63 –64 (5th ed. June 2020 update). The
                  lodestar method attempts to approximate the work done: the court
                  multiplies the number of hours reasonably worked on the case by a
                  reasonable hourly fee—with the possibility of an enhancement in certain
                  cases. See Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 551–52, 130
                  S.Ct. 1662, 176 L.Ed.2d 494 (2010); Gascho, 822 F.3d at 279. In
                  contrast, the percentage method attempts to approximate the result
                  achieved: the court calculates the fees as a percentage of the class
                  members’ recovery in the case. See Gascho, 822 F.3d at 279. Because
                                                    8
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                   “each method has its respective advantages and drawbacks,” district
                   courts have discretion in some contexts to choose the more appropriate
                   method for a particular case. Rawlings v. Prudential-Bache Props., Inc.,
                   9 F.3d 513, 516 (6th Cir. 1993). But still, the court must ensure—
                   whichever method it chooses—that the final award is “reasonable” under
                   the circumstances. Fed. R. Civ. P. 23(h); Jordan v. Mark IV Hair Styles,
                   Inc. , 806 F.2d 695, 697 (6th Cir. 1986).

(970 F.3d at 624). In assessing what would be a “reasonable” fee award, courts in the Sixth Circuit

   have examined six factors, with the first two being the most important:

           (1) the value of the benefit rendered to the plaintiff class ...;
           (2) the value of the services on an hourly basis;
           (3) whether the services were undertaken on a contingent fee basis;
           (4) society's stake in rewarding attorneys who produce such benefits in order to maintain
           an incentive to others;
           (5) the complexity of the litigation; and
           (6) the professional skill and standing of counsel involved on both sides.

Bowling v. Pfizer, Inc., 102 F.3d 777 (6th Cir. 1996).

           Courts regularly approve contingency fee awards in class actions ranging from 35%-50%

   of the judgment or settlement fund, particularly in complex cases. See Salinas v. United States

   Xpress Enters., Inc., 1:13-cv-00245, 2018 U.S. Dist. LEXIS 50800, at *29 (E.D. Tenn. Mar. 8,

   2018) (approving as reasonable fee request amounting to 40% of settlement fund); Savani v. URS

   Prof’l Solutions, LLC, No. 1:06-cv-02805, 2014 U.S. Dist. LEXIS 5092, at *14-15, 26-27 (D.S.C.

   Jan. 15, 2014) (considering that litigation was pursued through appeal and judgment, total fee

   approaching 45% of current and future value of recovery was fair and reasonable); Been v. O.K.

   Indus., No. CIV-02-285-RAW, 2011 U.S. Dist. LEXIS 115151, at *15-16, 24-25, 28 (E.D. Okla.

   Aug. 16, 2011) (observing that a 50% contingent fee is customary and reasonable in a difficult

   case prosecuted to judgment and awarding requested 42% fee award, in part, on that basis); Erie

   County Retirees Ass’n v. County of Erie, No. 98-272, 192 F. Supp. 2d 369, 383 (W.D. Penn. 2002)

   (fee award of 38% of the total fund struck appropriate balance between protecting the class
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 members’ interest in an adequate recovery and appropriately compensating counsel for their highly

 skilled efforts); Howes v. Atkins, 668 F. Supp. 1021, 1027 (E.D. Ky. 1987) (total attorney fee award

 of 50% reasonable and appropriate considering complexity of case and efforts of counsel). Denver

 Area Meat Cutters, 209 S.W.3d. at 593 (affirming trial court’s finding that “forty percent is a

 reasonable percentage” to be awarded from class action common fund, despite the disparity

 between the attorney fee and amounts to be paid to class members); see also, Boyton v.

 Headwaters, Inc., Case No. 1:02-cv-01111-JMP-egb (W.D. Tenn. Mar. 27, 2012) (District Judge

 Jon McCalla approving 40% contingency fee from $16 million recovery); Garcia v. Gordon

 Trucking, Inc., No. 1:10-CV-0324 AWI SKO, 2012 U.S. Dist. LEXIS 160052, 2012 WL 5364575

 (E.D. Cal. Oct. 31, 2012) (court approving attorneys’ fees in the amount of 33 percent of the

 common fund); Applegate-Walton v. Olan Mills, Inc, 2010 U.S. Dist. LEXIS 77965 at * 6 (M.D.

 Tenn. Aug. 2, 2010) (approving 35% fee in wage and hour case); Romero v. Producers Dairy

 Foods, Inc., No. 1:05-cv-0484-DLB, 2007 U.S. Dist. LEXIS 86270, 2007 WL 3492841, at * 4

 (E.D. Cal. Nov. 14, 2007) (class-action settlement where court approved attorneys’ fees in the

 amount of 40 percent of common fund). (See also, Declaration of John J. Heflin (“Heflin Decl.”),

 a copy of which is attached hereto as EXHIBIT C; Declaration of J. Gerard Stranch IV (“Stranch

 Decl.”), a copy of which is attached hereto as EXHIBIT D).

        Since this action was originally filed, Class Counsel have tirelessly worked on this matter

 without receiving any compensation for their work and without receiving any reimbursement for

 the expenses they advanced. Their representation of the Plaintiffs and the Class was undertaken

 with the understanding that any fees and expenses that they might receive would be contingent on

 the outcome of the case. (Joint Declaration ¶¶ 12, 25). This dispute was highly contested and was

 settled only after five years of litigation, which included the completion of expansive class

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 discovery, extensive ESI document exchange and review, seventeen depositions, and over ten in-

 person hearings to resolve discovery disputes. (Joint Declaration ¶¶ 9-10). Class Counsel have

 expended in excess of 5,566.65 hours advancing this case. (Joint Declaration ¶¶ 19-20).

        In addition, Class Counsel has provided the Court with independent expert opinion

 testimony concerning the propriety of the legal fee sought in this case through the declaration

 testimony of John J. Heflin and J. Gerard Stranch IV. For instance, Mr. Heflin opines that:

                The settlement in this case represents an excellent result. Through the
                efforts of Plaintiffs’ Counsel, unconstitutional practices including
                wrongfully detaining citizens whose warrants had already been
                dismissed, failing to promptly present arrested citizens for arraignment
                and setting bond, and failing to promptly release citizens (sometimes
                holding them for days) after they were entitled to be released from jail,
                have ended and will not be permitted in the future. In addition, Plaintiffs’
                counsel secured a substantial settlement fund to compensate those
                individuals who were unlawfully detained. Given the substantial time
                commitment and risk Plaintiffs’ counsel accepted and the favorable
                result obtained, Plaintiffs’ counsel are entitled to be fully and fairly
                compensated for their efforts

 (Heflin Decl. ¶ 11).

        Mr. Heflin further opines that each of the factors promulgated by the Sixth Circuit for

 assessing the reasonableness of a fee award “supports Plaintiffs’ counsel’s application for a

 substantial fee award” and further opines that the factors set forth in Rule 1.5 of the Tennessee

 Supreme Court’s Rules of Professional Conduct governing the reasonableness of a fee “weigh

 strongly in favor of granting Plaintiffs’ Counsel’s fees and expenses application. (Heflin Decl. ¶¶

 13-15). Mr. Heflin concludes by observing that “[i]t is not uncommon in class action litigation for

 class counsel to apply for and receive a multiplier on their hourly rate fee calculation, particularly

 in light of the risks that class counsel takes, as Plaintiffs’ Counsel did here, by agreeing to

 representation on a contingency fee basis and fronting expenses” and finds that “Plaintiffs’

 Counsel deserve to be fully compensated because they were highly effective in the prosecution of
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 this case and accomplished a significant recovery for the class despite novel and difficult legal

 questions.” (Heflin Decl. ¶ 17).

        Mr. Stranch likewise opines that the Rule 1.5 factors “weigh strongly in favor of granting

 Plaintiffs’ Counsel’s request for fees and expenses in this instance” and that, in his opinion, “the

 hourly time expended by Plaintiffs’ Counsel on this matter (5,566.65 hours as of the date of this

 filing) is reasonable and fair based upon the complexity of this matter and the significant work

 required to prosecute this case.” (Stranch Decl. ¶¶ 9, 10, 13). With respect to the request for

 $2,400,000.00 in fees and expenses, Mr. Stranch opines that:

                Plaintiffs’ Counsel negotiated and requested fees and expenses of
                $2,400,00.00, which, after five years of complex and hotly contested
                litigation, is less than their lodestar, and is extremely fair and reasonable.
                It is actually below what I believe Plaintiffs’ Counsel could and should
                charge for their services in this matter. It is not uncommon in class
                action litigation for class counsel to apply for and receive a 1.5 to 2.5
                multiplier on their hourly rate time, particularly in light of the risks that
                class counsel often takes, as Plaintiffs’ Counsel did here, by agreeing to
                representation on a contingency fee basis and fronting expenses. Of
                course, complex and hotly contested litigation, such as the litigation
                here, is time consuming and laborious and precludes other employment
                by the lawyer. Plaintiffs’ Counsel have proven to be highly skilled
                through the prosecution of this matter and accomplished a positive result
                for the class even in the face of novel and difficult legal questions. All
                of these factors demonstrate that the fees and expenses sought by
                Plaintiffs’ Counsel are reasonable.

 (Stranch Decl. ¶ 14).

        Generally, courts, when awarding fees solely on the lodestar basis, apply a multiplier to

 account for the risk of the contingent nature of the fee arrangement and the results obtained. These

 multipliers generally range from 1.3 to 4.5 times the lodestar time. See, e.g., In re Regions Morgan

 Keegan Securities Derivative and ERISA Litig., 2013, Case No. 2:09-2009 SHM V (W.D. Tenn.

 Aug 5, 2013) (District Judge Mays approving a $18.6 million attorney fee which was 30% of the

 common fund and 3.1 times the attorney lodestar of $5,980,680). However, it should be noted
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 that Class Counsel is not seeking any multiplier of its lodestar time and is actually seeking less

 than the loadstar amount when fees and expenses are accounted for. Specifically, based on the

 terms of the settlement, Counsel is seeking a total of $2,400,000.00 in fees and expenses, which

 falls short of the $2,444,850.70 in fees and expenses expended by Counsel. (Joint Declaration ¶¶

 19-21; Heflin Decl. ¶ 17; Stranch Decl. ¶ 14).

        Plaintiffs contend that under all of the circumstances here, the requested award of fees and

 expenses is fair and reasonable. See Benoist v. Titan Med. Mfg., LLC, No. 2:19-cv-02704-SHM,

 2021 U.S. Dist. LEXIS 186829, at *6-7, 12-13 (W.D. Tenn. Sept. 29, 2021) (District Judge Mays

 approving request for attorneys’ fees and finding a rate of $400.00 per hour to be reasonable);

 Peterson v. West TN Expediting, Inc., No. 1:18-cv-01164-STA-jay, 2020 U.S. Dist. LEXIS

 112378, at *3-4 (W.D. Tenn. June 26, 2020) (awarding legal fee and finding $400.00 per hour

 reasonable rate). Plaintiffs’ Counsel’s request for fees and expenses is fair and reasonable and

 should be granted in its entirety.

        D.      The Incentive Awards sought for the class representatives are fair and
                reasonable.

        In the settlement, Defendants agreed to provide additional compensation in the amount of

 $17,500 to each of the eight named Plaintiffs for the services that they provided to the Class as

 Class Representatives. This is commonly done in class action litigation and is referred to as an

 “incentive award” to compensate the actual class representatives that took their time to participate

 in discovery and depositions and to generally lead the prosecution of the class litigation. Many

 courts both locally and throughout the nation have approved substantially similar incentive

 payments. Boyton v. Headwaters, Inc., Case No. 1:02-cv-01111- JMP –egb (W.D. Tenn. Mar. 27,

 2012) (District Judge Jon McCalla approving $10,000 incentive award to class representative);

 Ham v. Swift Transportation Co. Case No. 2:09-cv-2145-JTF (W.D. Tenn. Oct. 10, 2012) (District
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 Judge John Fowlkes approving $12,500 incentive award to class representative). “The Sixth

 Circuit has recognized that there may be circumstances where incentive awards are appropriate.”

 In re Regions Morgan Keegan Secs., No. 2:08-cv-021920-SHM-dkv, 2014 U.S. Dist. LEXIS

 204978, at *24-25 (W.D. Tenn. Dec. 2014) (citing Vassalle v. Midland Funding, LLC, 708 F.3d

 747, 756 (6th Cir. 2013). “The Sixth Circuit has also provided:


                The propriety of incentive payments is arguably at
                its height when the award represents a fraction of a
                class representative's likely damages; for in
                that case the class representative is left to recover
                the remainder of his damages by means of the
                same mechanisms that unnamed class members
                must recover theirs. The members' incentives are
                thus aligned.

 Id. (citing In re Dry Max Pampers Litig., 724 F.3d 713, 722 (6th Cir. 2013). In this case, the Class

 Representatives are well deserving of the requested Incentive Awards.

        Indeed, each of the Class Representatives here actively participated in the prosecution of

 this action over the course of the five-year litigation and vigorously supported the interests of the

 class. (See Declarations of Class Representatives, attached hereto as EXHIBITS B and E-J).

 Each of the Class Representatives met with Class Counsel on dozens of occasions to provide the

 detailed information needed to build and prosecute this case. (See, e.g., Tate Decl. ¶ 9). Each

 Class Representative responded to written discovery and sat for deposition. (Id. ¶ 10). The Class

 Representatives were proactive in remaining up-to-date on the case and in protecting the interest

 of the Class, not just their own interests. (See generally, Class Representative Decls.). Notably,

 the Class Representatives were advised prior to the initiation of this action that they could likely

 recover more quickly if they pursued their claims individually. (See, e.g., Tate Decl. ¶ 7).

 Nevertheless, the Class Representatives chose to proceed with a class action suit because, in the


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 words of Deontae Tate, “I understood that we were acting to protect the civil rights of our fellow

 citizens, not merely obtain monetary relief.” (Tate Decl. ¶ 8).

        Each Class Representative deserves to be compensated for the work they performed for the

 Class. Given that each Class Representative was actively involved in this litigation for five years,

 the requested incentive award of $17,500 is fair and reasonable and should be approved by this

 Court. See e.g. Boynton v. Headwaters, Inc., No. 1:02-cv-01111-JPM-egb, Order Granting

 Plaintiffs’ Renewed Motion for Attorney’s Fees, Expenses, and Incentive Payments at pp. 7-9

 PageID 20647-49 (District Judge McCalla awarding two Class Representatives $100,000.00 each

 in incentive awards, a copy of which is attached hereto as EXHIBIT K). Moreover, the requested

 incentive awards are not disproportional to the amounts that will be received by Class Members

 through the claims process. For example, Plaintiff Drain was over-detained by twenty-two days

 and is anticipated to receive $37,750.00 for his wrongful incarceration from the common fund, an

 amount that far exceeds the requested incentive awards. (Drain Decl. ¶ 2). For all of these reasons,

 the Court should approve the requested incentive awards.



                                          CONCLUSION

        For the foregoing reasons, the Plaintiffs and Class Counsel respectfully move this

 Honorable Court to award attorneys’ fees and expenses in the amount of $2,400,000 and a $17,500

 incentive award payable to each Class Representative, all of which is fair and reasonable in all

 respects.




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 Dated: October 27, 2021


 Respectfully submitted,



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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of October, 2021, a true and correct copy of the
 foregoing pleading has been filed electronically with the Court’s Electronic Case Filing System.
 Pursuant to the Court’s ECF System, the following parties listed below are filing users who will
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